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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
                Plaintiff,
                    v.                                  CRIM. NO. 07-088 (CCC)
 JAVIER MITCHELL-HUNTER [5],
              Defendant.



                 SUPPLEMENTAL REPORT AND RECOMMENDATION
       Defendants in this case were arrested on February 23, 2007, and subsequently charged in a
two-count superseding indictment with aiding and abetting (Count One) and conspiracy (Count Two)
in the possession with intent to distribute approximately 396 kilograms of cocaine and 123 kilograms
of heroin on board a vessel subject to the jurisdiction of the United States (that is, a vessel without
nationality) in violation of the Maritime Drug Law Enforcement Act (“MDLEA”), 46 U.S.C. §
70501, et seq. (Docket No. 39). On February 20, 2008, I entered a report and recommendation
(Docket No. 140) recommending that the court deny defendants’ motion to dismiss the indictment
for lack of jurisdiction over the vessel. (Docket No. 104). Defendants did not file any objection to
the report and recommendation, and this court adopted it on April 9, 2008 and denied the motion to
dismiss. (Docket No. 152).
       Nearly one year later, defendant Javier Mitchell-Hunter, through new counsel, filed a motion
to reopen hearing on the motion to dismiss, and the government opposed. (Docket No. 266, 271).
Mitchell-Hunter now argues that the government’s use of a State Department certification to prove
jurisdiction over the vessel pursuant to the MDLEA violates the Confrontation Clause of the Sixth
Amendment and runs afoul of the Supreme Court’s decision in Crawford v. Washington, 541 U.S.
36 (2004). The matter was referred to me for a further report and recommendation by the presiding
district judge. (Docket No. 278).
       As I discussed in my previous report and recommendation, the MDLEA makes it unlawful
for any person on board a vessel subject to the jurisdiction of the United States to “knowingly or
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intentionally manufacture or distribute, or possess with intention to manufacture or distribute, a
controlled substance.” 46 U.S.C. §70503(a). A vessel is “subject to the jurisdiction of the United
States” if it fits any of the enumerated categories in Section 70502(c), including “a vessel without
nationality.” The government has the burden of proving jurisdiction under the MDLEA. United
States v. Tinoco, 304 F.3d 1088, 1114 (11th Cir. 2002).
       Subsection (d)(1) of Section 70502 provides that “the term ‘vessel without nationality’
includes - (A) a vessel aboard which the master or individual in charge makes a claim of registry
that is denied by the nation whose registry is claimed; (B) any vessel aboard which the master or
individual in charge fails, on request of an officer of the United States . . . , to make a claim of
nationality or registry for that vessel; and (C) a vessel aboard which the master or individual in
charge makes a claim of registry and for which the claimed nation of registry does not affirmatively
and unequivocally assert that the vessel is of its nationality.” 46 U.S.C. §70502(d)(1) (emphasis
added). In short, when the nation of alleged registry cannot confirm the vessel’s registration, the
vessel qualifies as a “vessel without nationality” under the MDLEA and is within the jurisdiction of
the federal courts of the United States. United States v. Bravo, 489 F.3d 1, 7 (1st Cir. 2007).
       Courts have also noted that the MDLEA’s list of mechanisms for finding a vessel to be
without nationality is not exclusive and may be supplemented by international law. United States v.
Acosta Valdez, 84 F.Supp. 2d 237, 238-39 (D.P.R. 1999). See also United States v. González, 311
F.3d 440, 449 (Torruella, J. concurring) (statute’s list of ways vessel can be determined to be
stateless is not exhaustive and may be supplemented by international law). Accordingly, this court
held in Acosta Valdez that since under international law a vessel is without nationality if it is not
authorized to fly the flag of any nation, then it would be considered stateless under the predecessor
to the MDLEA when the claimed country of registry was unable to confirm registration after the
vessel was seized. Acosta Valdez, 84 F. Supp. 2d at 239 (citing United States v. Rosero, 42 F.3d
166, 171 (3d Cir. 1994)).
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        The MDLEA further provides that the denial or response to an inquiry regarding a claim of
registry can be verified by radio, telephone, or similar oral or electronic means. Moreover, the denial
of such a claim of registry by the claimed flag state is conclusively proved by certification of the
Secretary of State or the Secretary’s designee.1 46 U.S.C. §70502(c)(2); United States v. Robinson-
Muñoz, 961 F.2d 300, 305 (1st Cir. 1992).
        In this case, the facts gave rise to a dispute as to whether the master claimed that the vessel
was registered with Colombia or whether he claimed it was registered with Venezuela. The
government sought to obviate this factual dispute by admitting two declarations executed by United
States Coast Guard (“USCG”) Commander G. Philip Welzant. (Docket No. 132-2). The first
declaration attests that the USCG inquired, via fax to the Colombian Navy, as to whether the go-fast
vessel was registered in Colombia, and that the Colombian Navy responded via fax that it could
neither confirm nor refute the master’s claim of Colombian registry. The second declaration attests
that in response to a January 15, 2008 request from the USCG, the Venezuelan Coast Guard could
neither confirm nor refute Venezuelan registry for the vessel. (Docket No. 132-3). Both of
Commander Welzant’s statements are accompanied by certifications from the United States
Department of State ascribing full faith and credit to his acts. (Docket No. 132-2, 132-3). Thus, the
government contends that it is unnecessary to resolve whether the master claimed Colombian or
Venezuelan registry, since neither flag nation could affirmatively and unequivocally assert that the
vessel was of its nationality, making it stateless pursuant to 46 U.S.C. §70502(d)(1)(C). I relied on
these declarations in determining that the government had jurisdiction over the vessel under the


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          The statute as it read when the facts of this case arose (February 2007) stated only that the
“denial” of a claim of registry may be proved conclusively by State Department certification, which
appears to refer only to one of the three mechanisms included in the statute (46 U.S.C. §70502(d)(1)(A))
by which a vessel may be considered a “vessel without nationality.” See 46 U.S.C. §70502(d)(2).
Congress amended the statute effective January 28, 2008 to provide that any “response of a foreign
nation to a claim of registry under paragraph (1)(A) or (C) . . . is proved conclusively by certification of
the Secretary of State or the Secretary’s designee.” See110 P.L. 181 § 3535(a)(6).
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MDLEA and in recommending that defendants’ motion to dismiss be denied.2
        Mitchell-Hunter now contends that such reliance violates the Confrontation Clause of the
Sixth Amendment. In particular, he argues that the certifications are “replete with inadmissible
hearsay” and that “[a]ny consideration or reliance on [them] by this Court would deprive the
defendant of his constitutional right to confront the witnesses against him, as guaranteed by the Sixth
Amendment of the Constitution.” (Docket No. 266, p. 1). He argues that the persons from
Colombia and Venezuela who purportedly failed to confirm the vessel’s registration with those
nations “at the very least . . . should be able to be cross-examined to ascertain the methods used and
the reliability of their record-keeping system.” Id. at 8.
        Mitchell-Hunter’s argument is mistaken for several reasons. Initially, the certifications are
not inadmissible hearsay. The First Circuit recently held that a similar certificate issued pursuant
to the MDLEA was “admissible under the hearsay exception for public records, see Fed. R. Evid.
803(8), and was self-authenticating, see Fed. R. Evid. 902(1).” United States v. Angulo-Hernández,
No. 07-2428, slip op. at 19, -- F.3d -- (1st Cir. May 5, 2009). See also United States v. Guerrero, 114
F.3d 332, 340 (1st Cir. 1997). Moreover, Colombia’s and Venezuela’s failures to confirm or deny
the vessel’s registration are verbal acts (rather than statements offered for the proof of the matter
asserted), and, therefore, are not hearsay. See e.g. United States v. Rojas, 53 F.3d 1212, 1216 (11th
Cir. 1995) (to the extent certification under the MDLEA evidences Panama’s consent, it is a verbal
act and not hearsay). Thus, the certifications were properly admitted and considered.
        Second, consideration of the certifications during a pretrial proceeding does not violate the
Confrontation Clause. The Sixth Amendment provides, in pertinent part, that “[i]n all criminal
prosecutions, the accused shall enjoy the right . . . to be confronted with the witnesses against him.”

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          After the government filed the two declarations, I conducted a status conference to determine
the need for an evidentiary hearing. Counsel for defendants agreed with the government that no hearing
was necessary and that the motion to dismiss could be resolved based on the court filings. (Docket No.
135). At that time, defense counsel voiced no objection to consideration of the declarations, nor did they
request to cross-examine Commander Welzant or anyone providing responses on behalf of Colombia or
Venezuela.
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U.S. Const. amend. VI. Importantly, the Supreme Court has stated that the Sixth Amendment “right
to confrontation is a trial right.” Pennsylvania v. Ritchie, 480 U.S. 39, 52 (1987) (original
emphasis). In a case involving sexual abuse of a minor, the Court held that the state’s refusal, citing
privacy concerns codified by statute, to disclose the relevant state agency investigative file did not
violate the Confrontation Clause, rejecting defendant’s argument that the state’s failure to disclose
that information inhibited his ability to effectively cross-examine adverse witnesses. Id. The Court
held that the interpretation urged by defendant would have the effect of “transform[ing] the
Confrontation clause into a constitutionally compelled rule of pretrial discovery.” Id.
       Jurisdiction over a vessel under the MDLEA is “not an element of the offense” but rather is
a “preliminary question[] of law to be determined solely by the trial judge.” 46 U.S.C. §70504(a);
Angulo-Hernandez, slip op. at 18. Lower courts consistently have held that the Sixth Amendment
right to confront adverse witnesses does not apply to pretrial proceedings. United States v. Harris,
458 F.2d 670, 677-78 (5th Cir. 1972) (no right of confrontation during preliminary hearing); United
States v. Bibbs, 488 F.Supp. 2d 925, 926 (N.D. Cal. 2007) (no violation of right of confrontation
during detention hearing); Pandales-Angulo v. United States, No. 8:01-CR-294-T, 2006 WL
1540259, at *5 (M.D. Fla. May 31, 2006) (right of confrontation did not apply to court’s
consideration of certifications under the MDLEA); United States v. Pate, 305 F.Supp. 225, 227 (N.D.
Ill. 1969) (no Sixth Amendment confrontation right during suppression hearing). Moreover, a
number of lower courts have rejected the proposition that the Supreme Court’s decision in Crawford
applies to pretrial hearings. See, e.g., Francischelli v. Potter, 03-cv-6091-ENV, 2007 U.S. Dist.
LEXIS 19242, at *34 (E.D.N.Y. Mar. 12, 2007) (“the Court can find no authority applying Crawford
to a suppression hearing”); Washburn v. United States, 05-CV-774-RM, 2006 U.S. Dist. LEXIS
90481 (N.D. Ind. Dec. 14, 2006) (“cases decided after Crawford v. Washington reaffirm the
admissibility of hearsay statements at suppression hearings”) (citing United States v. Del Rosario,
388 F.3d 1, 12 n.5 (1st Cir. 2004) (without referencing Crawford, stating, “testimony given at a
suppression hearing is not subject to the usual proscriptions against hearsay evidence”)); Pandales-
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Angulo, 2006 WL 1540259, at *5 (Crawford does not apply to court’s pre-trial consideration of a
certification to prove jurisdiction under the MDLEA); United States v. Thompson, 05-CR-161-HEA-
AGF, 2005 U.S. Dist. LEXIS 27763, at *18 (E.D. Mo. Nov. 14, 2005) (“Crawford does not change
the long-standing prior precedent that permits the use of hearsay in preliminary proceedings dealing
with the admissibility of evidence”).
        Therefore, neither the Sixth Amendment right to confront adverse witnesses, nor the Supreme
Court’s holding in Crawford, applies to the court’s pre-trial consideration of the certifications offered
to prove that the vessel was without nationality pursuant to the MDLEA. Pandales-Angulo, 2006
WL 1540259, at 5.3
        Finally, to the extent that the defendants might have a right to cross examine Commander
Welzant regarding the content of his declarations, I find that they have waived that right. As
indicated above, during a status conference held before I issued my original report and
recommendation I asked whether any of the defendants believed that an evidentiary hearing was
necessary.    No defendant objected to the court’s consideration of Commander Welzant’s
certifications, and defense counsel indicated that a hearing was not necessary and that the
jurisdictional issue could be resolved based on the filings before the court (Docket No. 135). Nor,
as of the present date, has Mitchell-Hunter provided the court with any proffer of evidence that
suggests that the content of the certifications is unreliable.
        Given the foregoing, I recommend that the motion to reopen hearing and to supplement the
motion to dismiss (Docket No. 266) be DENIED.
        This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within ten (10) days of its receipt. Failure to file timely and specific objections


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           I also note that the First Circuit recently stated that it “seriously doubt[s] that defendants can
mount a Confrontation Clause challenge to the admission of the State Department’s certificate” to prove
jurisdiction under the MDLEA. Angulo-Hernández, slip op. at 20.
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to the report and recommendation is a waiver of the right to review by the district court. United
States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
       IT IS SO RECOMMENDED.
       In San Juan, Puerto Rico, this 7th day of May, 2009.


                                               S/Bruce J. McGiverin
                                               BRUCE J. McGIVERIN
                                               United States Magistrate Judge
